        Case 9:14-cr-00027-DLC Document 462 Filed 09/30/15 Page 1 of 2


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION
                                                                                  FILED
                                                                                  S£p 3 0 2015
                                                                             Clerk. Us    .
 UNITED STATES OF AMERICA,                            CR 14-27-M-DLC           District O~~trict Court
                                                                                    Missou/gntana

                     Plaintiff,
                                                     FINDINGS AND
        vs.                                        RECOMMENDATION
                                                   CONCERNING PLEA

 SHAWNSTON BEAUDOIN,

                     Defendant.




      The Defendant, by consent, has appeared before the undersigned pursuant to

Fed. R. Crim. P. 11 and has entered a plea of guilty to the charge of conspiracy to

advertise child pornography in violation of 18 U.S.C. § 2251(d) and (e), as set

forth in the Indictment. The Defendant also admits to the forfeiture allegation.

After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against him, and an

informed and voluntary admission to the allegation of forfeiture;

      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,


                                         1
          Case 9:14-cr-00027-DLC Document 462 Filed 09/30/15 Page 2 of 2


       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty to the criminal

offense charged against him, and admitting to the allegation of forfeiture;

       5. That both his plea of guilty to the criminal offense charged against him

and his admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the offense charged and the legal basis for the

forfeiture.

       Therefore, I recommend that the Defendant be adjudged guilty of the charge

set forth in the Indictment and that sentence be imposed. I further recommend that

the agreed forfeiture be imposed against Defendant. A presentence report has

been ordered.

       This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the presentence

report.

       DATED this 30th day ofSeptem



                                        e miah C. Lynch
                                          ited States Magistrate Judge

                                         2
